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            EXHIBIT A
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c12)   United States Patent                                                                           (IO) Patent No.:                              US 7,946,491 B2
       Burian et al.                                                                                  (45) Date of Patent:                                    May 24, 2011

(54)   METHOD, APPARATUS, AND COMPUTER                                                           2003/0218069                  Al*    11/2003   Meier et al. .............. 235/462.25
       PROGRAM PRODUCT FOR PROVIDING A                                                           2005/0103858                  Al*     5/2005   Zhu et al. ................. 235/462.22
                                                                                                 2006/0280363                  Al*    12/2006   Umeda ......................... 382/167
       CAMERA BARCODE READER                                                                     2007/0095916                  Al*     5/2007   Joseph et al. ................. 235/454
(75)   Inventors: Adrian Burian, Tampere (FI); Jari A.                                                                       FOREIGN PATENT DOCUMENTS
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                  Vehvilainen, Tampere (FI)                                                  JP                        08032418                   2/1996
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(73)   Assignee: Nokia Corporation, Espoo (FI)                                               WO                   WO 03/083762 Al                10/2003
                                                                                             WO                  WO 2007/012986 Al                2/2007
( *)   Notice:      Subject to any disclaimer, the term ofthis                                                                  OTHER PUBLICATIONS
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                                                                                             Mobile Phones, Proceedings of the 2004 International Conference on
(21)   Appl. No.: 11/462,152                                                                 Cyberworlds, pp. 260-265, Nov. 2004.
                                                                                             E. Octaviani et al., A Common Image Processing Framework for 2D
(22)   Filed:       Aug. 3, 2006                                                             Barcode Reading, Seventh International Conference on Image Pro-
                                                                                             cessing and Its Application, vol. 2, pp. 652-655, Jul. 1999.
(65)                  Prior Publication Data                                                 A. Burian et al., Document Image Binarization Using the Camera
                                                                                             Device in Mobile Phones, IEEE International Conference on Image
       US 2008/0029602 Al           Feb. 7,2008                                              Processing ICIP2005, vol. II, pp. 546-549, Sep. 2005.

(51)   Int. Cl.                                                                               * cited by examiner
       G06K 7110                 (2006.01)
       G0SC 21100                (2006.01)                                                   Primary Examiner - Thien M. Le
(52)   U.S. Cl. ......... 235/462.07; 235/462.01; 235/462.09;                                Assistant Examiner - Tuyen K Vo
          235/462.11; 235/462.14; 235/462.15; 235/462.16;                                    (74) Attorney, Agent, or Firm -Alston                           & Bird LLP
          235/462.22; 235/462.23; 235/462.25; 235/462.45;
           235/462.49; 235/472.01; 235/472.02; 235/472.03                                     (57)                                     ABSTRACT
(58)   Field of Classification Search ............. 235/462.07,                              An apparatus for providing a camera barcode reader includes
                235/462.09, 462.08, 462.25, 462.14, 462.27,                                  a processing element configured to process an input image for
                235/462.41, 462.01, 462.11, 462.15, 462.16,                                  an attempt to decode the input image using a current barcode
       235/462.22, 462.23, 462.45, 462.49, 472.01-472.03;                                    reading method, to determine whether the processing of the
                                            382/173-180, 224                                 input image is successful, to switch to one of a different
       See application file for complete search history.                                     barcode reading method or processing a new frame of the
                                                                                             input image using the current barcode reading method in
(56)                  References Cited                                                       response to the processing of the input image being unsuc-
                                                                                             cessful, to attempt a decode of the input image using the
                  U.S. PATENT DOCUMENTS                                                      current barcode reading method in response to the processing
     5,867,593 A *     2/1999   Fukuda et al ................. 382/176                       of the input image being successful, and to perform a switch
     6,585,159 Bl*     7/2003   Meier et al. .............. 235/462.31                       to the different barcode reading method in response to a
     6,688,525 Bl *    2/2004   Nelson et al. ............ 235/462.21
     7,051,937 B2      5/2006   Albertelli et al.
                                                                                             failure of the attempt to decode the input image using the first
     7,237,721 B2      7/2007   Bilcu et al.                                                 barcode reading method.
 2002/0110269 Al *     8/2002   Floeder et al. ................ 382/141
 2003/0178490 Al       9/2003   Albertelli et al.                                                                              41 Claims, 7 Drawing Sheets


                                                                                         DIFFERENTMETHOOORMODIFIEDMETl-!OD
                                                                                             BECOMESTHECURRENTMOTHOO




                                                          DETERMINE
                                                         WHETHERTHE
                                                          DECODING IS
                                                          SUCCESSFUL




                                                        RETI.JRNRESULTTO
                                                              USER
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                                                                                                              r10
                                         CAMERA
                             361'----,------'
                                         MODULE


               r12

              TRANSMITTER


                          20
                        16                                                                                                     28
                                                                                                                   DISPLAY
      RECEIVER                                CONTROLLER

                                                                                                                   KEYPAD


                                                                                                              30

                            40                                                                           42
                                                                               NON-
MICROPHONE                       VOLATILE
                                                                             VOLATILE
                                 MEMORY
                                                                             MEMORY
      26


                                                 .__        __
                                                                UIM
                                                                                    __,  r          38




                                           FIG. 1.
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                                                                                                                                 62
                                           62
                                                                                                                         AP
                                AP

                                                                                                                                          48



                                      '
                                                                           48
                                                                                                                   54


     1]~
  1                                                                                                                     GTW
                                                   GTW
                                                                                         ORIGIN SERVER
10                                    52                                                                                             52

     TERMINAL                         COMPUTING                                                                         COMPUTING
                                       SYSTEM                                                                            SYSTEM


                                                               48                                                                    60
                                 62
  120-
                10
                                            GTW                                                                               GGSN

     TERMINAL

                                                                            48
                                                                                                             GTW


                                                                                      46

                TERMINAL                                                                                     MSC


                                                BS
                12~/
                     LJ    10         44                                                                 SGSN


                                                                                                                   56
                TERMINAL




                                            FIG. 2.
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        36
                                                                                              70
   CAMERA
   MODULE
                        BARCODE READING ELEMENT

                               74                                           78 \
                                                                                                                 84
                       DETECTOR                                        BINARIZATION
   MEMORY               ELEMENT                                          ELEMENT                          INTERFACE
   DEVICE

   68                   DECODER                                  CLASSIFICATION
                        ELEMENT                                     ELEMENT

                          80                                                L75
 COMMUNICATION
    ELEMENT

             66

                                         PROCESSING                                                72
                                           ELEMENT




                                            FIG. 3.
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                                                                                               ras
       98




                                                                                               C3




                                       FIG. 4.



              co                                                                               Cl




              C2                                                                               C3




                                               FIG. 5.
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                       200
       PROCESS AN INPUT
                                                                   DIFFERENTMETHOD OR MODIFIED METHOD
      IMAGE FOR ATTEMPT                                                BECOMESTHE CURRENT METHOD
       TO DECODE USING
       CURRENT BARCODE
        READING METHOD




                                                                                                   260
                          210                                       SWITCH TOA
          DETERMINE                                             DIFFERENT BARCODE
        WHETHER THE                                             READING METHOD OR
        PROCESSING IS                                            USE THE CURRENT
         SUCCESSFUL                                              METHOD ON A NEW
                                                                      FRAME



              YES
                                 220

      ATTEMPT TO DECODE
        USING THE FIRST
       BARCODE READING                                                                             250
            METHOD


                                                                          NOTIFY USER OF
                                                                             FAILURE
                          230
          DETERMINE
         WHETHER THE
                                                                                                   270
                             N
         DECODING IS                                                SWITCH TOA
         SUCCESSFUL                                             DIFFERENT BARCODE
                                                                READING METHOD OR
                                                                MODIFY THE CURRENT
                                                                 BARCODE READING
              YES            240                                      METHOD


       RETURN RESULT TO
            USER




                                FIG. 6.
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                                                                       300
               INITIALIZATION




                                                                     302
                DETECT ROI



                                                                                             306
        304        ETERMIN
                                                                                      DETERMINE
                WHETHER THE
                BARCODE IS 1D
                                                                                   BARCODE TYPE AND
                    OR2D                                                               DECODE



                     2

      310
                BINARIZE ROI                                                                               308


      312                                                                                    NOTIFY USER
              ROI CORRECTION
                                                                                                            320

      314     RE-SAMPLING AND                                                         ATTEMPT DECODE
               GEOMETRICAL
                CORRECTION
                                                                                                           318
      316
                 DETERMINE                                                       COMPUTE SCANNING
               BARCODE TYPE                                                           MESH




                 FIG. 7.
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                                                                        400
               INITIALIZATION




                                                                     402
               BINARIZE INPUT
                   IMAGE



      404
               DETECT BINARY
                    ROI


                                                                                             408
       406        ETERMIN
                                                                                      DETERMINE
                WHETHER THE
                BARCODE IS 1D                                                      BARCODE TYPE AND
                   OR2D                                                                DECODE

                                                                                                           410
                     2D

      412                                                                                    NOTIFY USER
              ROI CORRECTION
                                                                                                            420

     414      RE-SAMPLING AND                                                         ATTEMPT DECODE
               GEOMETRICAL
                CORRECTION
                                                                                                           418
     416
                DETERMINE                                                        COMPUTE SCANNING
               BARCODE TYPE                                                           MESH




                 FIG. 8.
                                                     Case 6:20-cv-00580-ADA Document 199 Filed 07/26/23 Page 10 of 22




                                                      US 7,946,491 B2
                               1                                                                                        2
     METHOD, APPARATUS, AND COMPUTER                                words, edges of objects within a camera image are not as clear
     PROGRAM PRODUCT FOR PROVIDING A                                as edges of objects within a scanner image. Therefore, the
         CAMERA BARCODE READER                                      difference in intensity between portions of a camera image
                                                                    may be obscure. Third, camera images may be distorted by
                  TECHNOLOGICAL FIELD                               sensor noise such as optical blur and vignetting, which also
                                                                    reduce image quality. Because of the problems described
   Embodiments of the present invention relate generally to         above, barcode reading using camera images faces additional
barcode reading technology and, more particularly, relate to a      challenges over scanned images. Applications have been
method, apparatus and computer program product for provid-          developed which incorporate complex methods aimed at
ing a camera barcode reader.                                     10 overcoming some of the problems above. However, each
                                                                    application is typically rigid in its approach to addressing the
                       BACKGROUND                                   problems above. Therefore, current applications are often
                                                                    limited in flexibility and may be relevant only to particular
   The modern communications era has brought about a tre-           barcode types, or particular conditions.
mendous expansion ofwireline and wireless networks. Com- 15            Accordingly, it may be desirable to introduce an applica-
puter networks, television networks, and telephony networks         tion for use with camera image based barcode reading, which
are experiencing an unprecedented technological expansion,          is capable of overcoming the disadvantages described above.
fueled by consumer demand. Wireless and mobile network-             Furthermore, it may be desirable to introduce an application
ing technologies have addressed related consumer demands,           which overcomes the disadvantages above in a flexible man-
while providing more flexibility and immediacy of informa- 20 ner which enables utilization of the application under a vari-
tion transfer.                                                      ety of conditions and for different types ofbarcodes.
   Current and future networking technologies continue to
facilitate ease of information transfer and convenience to                                BRIEF SUMMARY
users. One area in which there is a demand to increase ease of
information transfer and convenience to users relates to pro- 25       A method, apparatus and computer program product are
vision of various applications or software to users of elec-        therefore provided for providing a camera barcode reader
tronic devices such as a mobile terminal. The applications or       having automatic localization, detection of orientation, and
software may be executed from a local computer, a network           type classification.
server or other network device, or from the mobile terminal            In one exemplary embodiment, a method of providing a
such as, for example, a mobile telephone, a mobile television, 30 camera barcode reader is provided. The method includes
a mobile gaming system, video recorders, cameras, etc, or           processing an input image for an attempt to decode the input
even from a combination of the mobile terminal and the              image using a current barcode reading method, determining
network device. In this regard, various applications and soft-      whether the processing of the input image is successful,
ware have been developed and continue to be developed in            switching to one of a different barcode reading method or
order to give the users robust capabilities to perform tasks, 35 processing a new frame of the input image using the current
communicate, entertain themselves, gather and/or analyze            barcode reading method in response to the processing of the
information, etc. in either fixed or mobile environments.           input image being unsuccessful, attempting a decode of the
   An example of an application that may be used to gather          input image using the current barcode reading method in
and/or analyze information is a barcode reader. While bar-          response to the processing of the input image being success-
codes have been in use for about half a century, developments 40 ful, and performing a switch to the different barcode reading
related to utilization of barcodes have recently taken drastic      method in response to a failure of the attempt to decode the
leaps with the infusion of new technologies. For example,           input image using the current barcode reading method.
new technology has enabled the development ofbarcodes that             In another exemplary embodiment, a computer program
are able to store product information of increasing detail.         product for providing a camera barcode reader is provided.
Barcodes have been employed to provide links to related sites 45 The computer program product includes at least one com-
such as web pages. Additionally, barcode systems have been          puter-readable storage medium having computer-readable
developed which move beyond typical one dimensional (ID)            program code portions stored therein. The computer-readable
barcodes to provide multiple types of potentially complex           program code portions include first, second, third, fourth and
two dimensional (2D) barcodes. Along with changes related           fifth executable portions. The first executable portion is for
to barcode usage and types, new devices have been developed 50 processing an input image for an attempt to decode the input
for reading barcodes. In the past, barcode readers were often       image using a current barcode reading method. The second
devices which irradiate light onto a barcode and receive            executable portion is for determining whether the processing
reflected light from stripe patterns composed of black and          of the input image is successful. The third executable portion
white lines in order to detect the barcode. However, cameras        is for switching to one of a different barcode reading method
and laser scanners have also been developed which are 55 or processing anew frame of the input image using the current
capable of performing barcode reading operations. Given the         barcode reading method in response to the processing of the
ubiquitous nature of cameras in mobile terminal devices, it         input image being unsuccessful. The fourth executable por-
may be increasingly advantageous to provide barcode reading         tion is for attempting a decode of the input image using the
capabilities that could be employed on such mobile terminal         current barcode reading method in response to the processing
devices.                                                         60 of the input image being successful. The fifth executable
   Unfortunately, camera images are often more difficult to         portion is for performing a switch to the different barcode
accurately recognize than scanner images. This phenomenon           reading method in response to a failure of the attempt to
may be related to a number of factors. First, uneven lighting or    decode the input image using the current barcode reading
aberrations on a camera lens may lead to non-uniform bright-        method.
ness or uneven lighting, which may render a camera image 65            In another exemplary embodiment, an apparatus for pro-
less accurate. Second, the color level surface of a camera          viding a camera barcode reader is provided. The apparatus
image is smoother than that of a scanner image. In other            includes a processing element configured to process an input
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                               3                                                                                        4
image for an attempt to decode the input image using a current                        DETAILED DESCRIPTION
barcode reading method, to determine whether the processing
of the input image is successful, to switch to one of a different       Embodiments of the present invention will now be
barcode reading method or processing a new frame of the              described more fully hereinafter with reference to the accom-
input image using the current barcode reading method in              panying drawings, in which some, but not all embodiments of
response to the processing of the input image being unsuc-           the invention are shown. Indeed, embodiments of the inven-
cessful, to attempt a decode of the input image using the            tion may be embodied in many different forms and should not
current barcode reading method in response to the processing         be construed as limited to the embodiments set forth herein;
of the input image being successful, and to perform a switch         rather, these embodiments are provided so that this disclosure
to the different barcode reading method in response to a 10 will satisfy applicable legal requirements. Like reference
failure of the attempt to decode the input image using the first     numerals refer to like elements throughout.
barcode reading method.                                                 FIG. 1 illustrates a block diagram of a mobile terminal 10
   In another exemplary embodiment, an apparatus for pro-            that would benefit from embodiments of the present inven-
viding a camera barcode reader is provided. The apparatus            tion. It should be understood, however, that a mobile tele-
includes means for processing an input image for an attempt 15 phone as illustrated and hereinafter described is merely illus-
to decode the input image using a current barcode reading            trative of one type of mobile terminal that would benefit from
method, means for determining whether the processing of the          embodiments of the present invention and, therefore, should
input image is successful, means for switching to one of a           not be taken to limit the scope of embodiments of the present
different barcode reading method or processing a new frame           invention. While several embodiments of the mobile terminal
of the input image using the current barcode reading method 20 10 are illustrated and will be hereinafter described for pur-
in response to the processing of the input image being unsuc-        poses of example, other types of mobile terminals, such as
cessful, means for attempting a decode of the input image            portable digital assistants (PDAs), pagers, mobile televisions,
using the current barcode reading method in response to the          gaming devices, laptop computers, cameras, video recorders,
processing of the input image being successful, and means for        GPS devices and other types of voice and text communica-
performing a switch to the different barcode reading method 25 tions systems, can readily employ embodiments of the
in response to a failure of the attempt to decode the input          present invention. Furthermore, devices that are not mobile
image using the current barcode reading method.                      may also readily employ embodiments of the present inven-
   Embodiments of the invention may provide a method,                tion.
apparatus and computer program product for providing a                  In addition, while several embodiments of the method of
camera barcode reader, which may be advantageously 30 the present invention are performed or used by a mobile
employed in mobile environments such as mobile telephones            terminal 10, the method may be employed by other than a
or other mobile terminals. However, embodiments of the               mobile terminal. Moreover, the system and method of
invention may also be employed in other devices which are            embodiments of the present invention will be primarily
fixed or mobile.                                                     described in conjunction with mobile communications appli-
                                                                  35 cations. It should be understood, however, that the system and
         BRIEF DESCRIPTION OF THE SEVERAL                            method of embodiments of the present invention can be uti-
               VIEWS OF THE DRAWING(S)                               lized in conjunction with a variety of other applications, both
                                                                     in the mobile communications industries and outside of the
   Having thus described embodiments of the invention in             mobile communications industries.
general terms, reference will now be made to the accompa- 40            The mobile terminal 10 includes an antenna 12 (or multiple
nying drawings, which are not necessarily drawn to scale, and        antennae) in operable communication with a transmitter 14
wherein:                                                             and a receiver 16. The mobile terminal 10 further includes a
   FIG. 1 is a schematic block diagram of a mobile terminal          controller 20 or other processing element that provides sig-
according to an exemplary embodiment of the present inven-           nals to and receives signals from the transmitter 14 and
tion;                                                             45 receiver 16, respectively. The signals include signaling infor-
   FIG. 2 is a schematic block diagram of a wireless commu-          mation in accordance with the air interface standard of the
nications system according to an exemplary embodiment of             applicable cellular system, and also user speech and/or user
the present invention;                                               generated data. In this regard, the mobile terminal 10 is
   FIG. 3 illustrates a block diagram of portions of a system        capable of operating with one or more air interface standards,
for providing a camera barcode reader according to an exem- 50 communication protocols, modulation types, and access
plary embodiment of the present invention;                           types. By way of illustration, the mobile terminal 10 is
   FIG. 4 illustrates a barcode and associated region of inter-      capable of operating in accordance with any of a number of
est in need of correction according to an exemplary embodi-          first, second and/or third-generation communication proto-
ment of the present invention;                                       cols or the like. For example, the mobile terminal 10 may be
   FIG. 5 illustrates the barcode of FIG. 4 in which the region 55 capable of operating in accordance with second-generation
of interest has been corrected according to an exemplary             (2G) wireless communication protocols IS-136 (TDMA),
embodiment of the present invention;                                 GSM, and IS-95 (CDMA), or with third-generation (3G)
   FIG. 6 is a flowchart according to an exemplary method of         wireless communication protocols, such as UMTS,
providing a camera barcode reader according to one embodi-           CDMA2000, and TD-SCDMA.
ment of the present invention;                                    60    It is understood that the controller 20 includes circuitry
   FIG. 7 is a flowchart showing a first method for use within       required for implementing audio and logic functions of the
the method of providing a camera barcode reader according to         mobile terminal 10. For example, the controller 20 may be
an exemplary embodiment of the present invention; and                comprised of a digital signal processor device, a micropro-
   FIG. 8 is a flowchart showing a second method for use             cessor device, and various analog to digital converters, digital
within the method of providing a camera barcode reader 65 to analog converters, and other support circuits. Control and
according to an exemplary embodiment of the present inven-           signal processing functions of the mobile terminal 10 are
tion.                                                                allocated between these devices according to their respective
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                             5                                                                                        6
capabilities. The controller 20 thus may also include the func-  volatile Random Access Memory (RAM) including a cache
tionality to convolutionally encode and interleave message       area for the temporary storage of data. The mobile terminal 10
and data prior to modulation and transmission. The controller    may also include other non-volatile memory 42, which can be
20 can additionally include an internal voice coder, and may     embedded and/or may be removable. The non-volatile
include an internal data modem. Further, the controller 20       memory 42 can additionally or alternatively comprise an
may include functionality to operate one or more software        EEPROM, flash memory or the like, such as that available
programs, which may be stored in memory. For example, the        from the SanDisk Corporation of Sunnyvale, Calif., or Lexar
controller 20 may be capable of operating a connectivity         Media Inc. of Fremont, Calif. The memories can store any of
program, such as a conventional Web browser. The connec-         a number of pieces of information, and data, used by the
tivity program may then allow the mobile terminal 10 to 10 mobile terminal 10 to implement the functions of the mobile
transmit and receive Web content, such as location-based         terminal 10. For example, the memories can include an iden-
content, according to a Wireless Application Protocol (WAP),     tifier, such as an international mobile equipment identifica-
for example.                                                     tion (IMEI) code, capable ofuniquely identifying the mobile
   The mobile terminal 10 also comprises a user interface        terminal 10.
including an output device such as a conventional earphone or 15     Referring now to FIG. 2, an illustration of one type of
speaker 24, a ringer 22, a microphone 26, a display 28, and a    system that would benefit from embodiments of the present
user input interface, all of which are coupled to the controller invention is provided. The system includes a plurality of
20. The user input interface, which allows the mobile terminal   network devices. As shown, one or more mobile terminals 10
10 to receive data, may include any of a number of devices       may each include an antenna 12 for transmitting signals to
allowing the mobile terminal 10 to receive data, such as a 20 and for receiving signals from a base site or base station (BS)
keypad 30, a touch display (not shown) or other input device.    44. The base station 44 may be a part of one or more cellular
In embodiments including the keypad 30, the keypad 30 may        or mobile networks each of which includes elements required
include the conventional numeric (0-9) and related keys (#,      to operate the network, such as a mobile switching center
*), and other keys used for operating the mobile terminal 10.    (MSC) 46. As well known to those skilled in the art, the
Alternatively, the keypad 30 may include a conventional 25 mobile network may also be referred to as a Base Station/
QWERTY keypad arrangement. The keypad 30 may also                MSC/Interworking function (BMI). In operation, the MSC 46
include various soft keys with associated functions. In addi-    is capable of routing calls to and from the mobile terminal 10
tion, or alternatively, the mobile terminal 10 may include an    when the mobile terminal 10 is making and receiving calls.
interface device such as a joystick or other user input inter-   The MSC 46 can also provide a connection to landline trunks
face. The mobile terminal 10 further includes a battery 34, 30 when the mobile terminal 10 is involved in a call. In addition,
such as a vibrating battery pack, for powering various circuits  the MSC 46 can be capable of controlling the forwarding of
that are required to operate the mobile terminal 10, as well as  messages to and from the mobile terminal 10, and can also
optionally providing mechanical vibration as a detectable        control the forwarding of messages for the mobile terminal 10
output.                                                          to and from a messaging center. It should be noted that
   In an exemplary embodiment, the mobile terminal 10 35 although the MSC 46 is shown in the system of FIG. 2, the
includes a media capturing module 36, such as a camera,          MSC 46 is merely an exemplary network device and embodi-
video and/or audio module, in communication with the con-        ments of the present invention are not limited to use in a
troller 20. The media capturing module 36 may be any means       network employing an MSC.
for capturing an image, video and/or audio for storage, dis-         The MSC 46 can be coupled to a data network, such as a
play or transmission. For example, in an exemplary embodi- 40 local area network (LAN), a metropolitan area network
ment in which the media capturing module 36 is a camera          (MAN), and/or a wide area network (WAN). The MSC 46 can
module, the camera module 36 may include a digital camera        be directly coupled to the data network. In one typical
capable of forming a digital image file from a captured image.   embodiment, however, the MSC 46 is coupled to a GTW 48,
As such, the camera module 3 6 includes all hardware, such as    and the GTW 48 is coupled to a WAN, such as the Internet 50.
a lens or other optical component(s ), and software necessary 45 In tum, devices such as processing elements (e.g., personal
for creating a digital image file from a captured image. Alter-  computers, server computers or the like) can be coupled to the
natively, the camera module 36 may include only the hard-        mobile terminal 10 via the Internet 50. For example, as
ware needed to view an image, while a memory device of the       explained below, the processing elements can include one or
mobile terminal 10 stores instructions for execution by the      more processing elements associated with a computing sys-
controller 20 in the form of software necessary to create a 50 tem 52 (two shown in FIG. 2), origin server 54 (one shown in
digital image file from a captured image. In an exemplary        FIG. 2) or the like, as described below.
embodiment, the camera module 36 may further include a               The BS 44 can also be coupled to a signaling GPRS (Gen-
processing element such as a co-processor which assists the      eral Packet Radio Service) support node (SGSN) 56. As
controller 20 in processing image data and an encoder and/or     known to those skilled in the art, the SGSN 56 is typically
decoder for compressing and/or decompressing image data. 55 capable of performing functions similar to the MSC 46 for
The encoder and/or decoder may encode and/or decode              packet switched services. The SGSN 56, like the MSC 46, can
according to a JPEG standard format.                             be coupled to a data network, such as the Internet 50. The
   The mobile terminal 10 may further include a universal        SGSN 56 can be directly coupled to the data network. In a
identity module (UIM) 38. The UIM 38 is typically a memory       more typical embodiment, however, the SGSN 56 is coupled
device having a processor built in. The UIM 38 may include, 60 to a packet-switched core network, such as a GPRS core
for example, a subscriber identity module (SIM), a universal     network 58. The packet-switched core network is then
integrated circuit card (UICC), a universal subscriber identity  coupled to another GTW 48, such as a GTW GPRS support
module (USIM), a removable user identity module (R-UIM),         node (GGSN) 60, and the GGSN 60 is coupled to the Internet
etc. The UIM 38 typically stores information elements related    50. In addition to the GGSN 60, the packet-switched core
to a mobile subscriber. In addition to the UIM 38, the mobile 65 network can also be coupled to a GTW 48. Also, the GGSN 60
terminal 10 may be equipped with memory. For example, the        can be coupled to a messaging center. In this regard, the
mobile terminal 10 may include volatile memory 40, such as       GGSN 60 and the SGSN 56, like the MSC 46, may be capable
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of controlling the forwarding of messages, such as MMS             mation" and similar terms may be used interchangeably to
messages. The GGSN 60 and SGSN 56 may also be capable              refer to data capable of being transmitted, received and/or
of controlling the forwarding of messages for the mobile           stored in accordance with embodiments of the present inven-
terminal 10 to and from the messaging center.                      tion. Thus, use of any such terms should not be taken to limit
   In addition, by coupling the SGSN 56 to the GPRS core           the spirit and scope of the present invention.
network 58 and the GGSN 60, devices such as a computing               Although not shown in FIG. 2, in addition to or in lieu of
system 52 and/or origin server 54 may be coupled to the            coupling the mobile terminal 10 to computing systems 52
mobile terminal 10 via the Internet 50, SGSN 56 and GGSN           across the Internet 50, the mobile terminal 10 and computing
60. In this regard, devices such as the computing system 52        system 52 may be coupled to one another and communicate in
and/or origin server 54 may communicate with the mobile 10 accordance with, for example, RF, BT, IrDA or any of a
terminal 10 across the SGSN 56, GPRS core network 58 and           number of different wire line or wireless communication tech-
the GGSN 60. By directly or indirectly connecting mobile           niques, including LAN, WLAN, WiMAX and/or UWB tech-
terminals 10 and the other devices (e.g., computing system         niques. One or more of the computing systems 52 can addi-
52, origin server 54, etc.) to the Internet 50, the mobile ter-    tionally, or alternatively, include a removable memory
minals 10 may communicate with the other devices and with 15 capable of storing content, which can thereafter be transferred
one another, such as according to the Hypertext Transfer           to the mo bile terminal 10. Further, the mo bile terminal 10 can
Protocol (HTTP), to thereby carry out various functions of the     be coupled to one or more electronic devices, such as printers,
mobile terminals 10.                                               digital projectors and/or other multimedia capturing, produc-
   Although not every element of every possible mobile net-        ing and/or storing devices (e.g., other terminals). Like with
work is shown and described herein, it should be appreciated 20 the computing systems 52, the mobile terminal 10 may be
that the mobile terminal 10 may be coupled to one or more of       configured to communicate with the portable electronic
any of a number of different networks through the BS 44. In        devices in accordance with techniques such as, for example,
this regard, the network( s) can be capable of supporting com-     RF, BT, IrDA or any of a number of different wireline or
munication in accordance with any one or more of a number          wireless communication techniques, including USB, LAN,
offirst-generation (1G), second-generation (2G), 2.5G and/or 25 WLAN, WiMAX and/or UWB techniques.
third-generation (3G) mobile communication protocols or               An exemplary embodiment of the invention will now be
the like. For example, one or more of the network(s) can be        described with reference to FIG. 3, in which certain elements
capable of supporting communication in accordance with 2G          of a system for providing a camera barcode reader are dis-
wireless communication protocols IS-136 (TDMA), GSM,               played. The system of FIG. 3 may be employed, for example,
and IS-95 (CDMA). Also, for example, one or more of the 30 on the mobile terminal 10 of FIG. 1. However, it should be
network(s) can be capable of supporting communication in           noted that the system of FIG. 3 may also be employed on a
accordance with 2.5G wireless communication protocols              variety of other devices, both mobile and fixed, and therefore,
GPRS, Enhanced Data GSM Environment (EDGE), or the                 the present invention should not be limited to application on
like. Further, for example, one or more of the network(s) can      devices such as the mobile terminal 10 of FIG. 1 although an
be capable of supporting communication in accordance with 35 exemplary embodiment of the invention will be described in
3G wireless communication protocols such as a Universal            greater detail below in the context of application in a mobile
Mobile Telephone System (UMTS) network employing                   terminal. Such description below is given by way of example
Wideband Code Division Multiple Access (WCDMA) radio               and not oflimitation. For example, the system of FIG. 3 may
access technology. Some narrow-band AMPS (NAMPS), as               be employed on a camera, a video recorder, etc. Furthermore,
well as TACS, network(s) may also benefit from embodi- 40 the system of FIG. 3 may be employed on a device, compo-
ments of the present invention, as should dual or higher mode      nent, element or module of the mobile terminal 10. It should
mobile stations (e.g., digital/analog or TDMA/CDMA/ana-            also be noted that while FIG. 3 illustrates one example of a
log phones).                                                       configuration of the system, numerous other configurations
   The mobile terminal 10 can further be coupled to one or         may also be used to implement embodiments of the present
more wireless access points (APs) 62. The APs 62 may com- 45 invention.
prise access points configured to communicate with the                Referring now to FIG. 3, a system for providing a camera
mobile terminal 10 in accordance with techniques such as, for      barcode reader may include any number of image data
example, radio frequency (RF), Bluetooth (BT), infrared            sources such as, for example, the camera module 36, a com-
(IrDA) or any of a number of different wireless networking         munication element 66 and a memory device 68, any or all of
techniques, including wireless LAN (WLAN) techniques 50 which may be in communication with a barcode reading
such as IEEE 802.11 (e.g., 802.lla, 802.llb, 802.llg,              element 70 that operates under the control of a processing
802.lln, etc.), WiMAX techniques such as IEEE 802.16,              element 72. As such, the barcode reading element 70 accord-
and/or ultra wideband (UWB) techniques such as IEEE                ing to embodiments of the present invention may alternatively
802.15 or the like. The APs 62 may be coupled to the Internet      be embodied as any device or means embodied in either
50. Like with the MSC 46, theAPs 62 can be directly coupled 55 hardware, software, or a combination of hardware and soft-
to the Internet 50. In one embodiment, however, the APs 62         ware that is capable of detecting, classifying and decoding a
are indirectly coupled to the Internet 50 via a GTW 48.            barcode as described in greater detail below. In this regard, the
Furthermore, in one embodiment, the BS 44 may be consid-           barcode reading element 70 may be disposed within an image
ered as another AP 62. As will be appreciated, by directly or      processing chain such that, for example, images captured at
indirectly connecting the mobile terminals 10 and the com- 60 the camera module 36 are automatically processed at the
puting system 52, the origin server 54, and/or any ofa number      barcode reading element 70 as a part of the normal image
of other devices, to the Internet 50, the mobile terminals 10      processing chain. Alternatively, the barcode reading element
can communicate with one another, the computing system,            70 may be selectively employed either automatically based
etc., to thereby carry out various functions of the mobile         on image content or context information or upon user selec-
terminals 10, such as to transmit data, content or the like to, 65 tion. In various exemplary embodiments, the barcode reading
and/or receive content, data or the like from, the computing       element 70 may be an element that is attachable/detachable
system 52. As used herein, the terms "data," "content," "infor-    with respect to a host device or the barcode reading element
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70 may be loadable onto the host device. Thus, according to       B)/4. It should be noted that it is also possible to compute a
different exemplary embodiments, the barcode reading ele-         single value corresponding to each group based upon less
ment 70 may process image data that is received directly from     than all of the four components or even a single component in
a sensor such as the camera module 36, the barcode reading        order to reduce calculational complexity and increase pro-
element 70 may process image data that is retrieved from          cessing speed.
storage device such as the memory 68, the barcode reading            As stated above, the detection element 74 detects an ROI
element 70 may process image data that is received from the       within image data corresponding to a captured image. If the
communication element 66 such as via a file transfer from         image data is binarized image data, the ROI could then be a
another device, or the barcode reading element 70 may pro-        binary ROI. The ROI may be considered a sub-image or
cess image data from any combination of the above recited 10 portion of the captured image that is likely to contain a bar-
sources. As such, image data that is processed by the barcode     code. In an exemplary embodiment, it may be assumed that
reading element 70 could be, for example, Bayer matrix data,      the ROI is likely to overlap or at least be proximately located
color image data, grey level image data, digitized or binary      with respect to the center of the captured image. Accordingly,
image data. The barcode reading element 70 could also be          the ROI may be determined by selecting a central image area
embodied as software that is downloadable, for example, by 15 that contains a large number of edges. For example, a com-
the mobile terminal 10 either via a wired or wireless connec-     mon 1D barcode may include a series of alternating black and
tion.                                                             white lines of varying widths which are arranged to fit within
   The barcode reading element 70 according to an exemplary       a four sided polygon shape such as a rectangle or square
embodiment includes a detection element 74, a classification      shape. The four sided polygon is typically surrounded by a
element 76 a binarization element 78 and a decoder element 20 white area known as a quiet zone, which is provided with the
80 all of which are capable of communication with each other      intension of ensuring that the barcode can be differentiated
as necessary to perform their respective functions. In an         from surrounding text or other objects which may include
exemplary embodiment, each of the detection element 74, the       additional barcodes. Accordingly, if one were to assume that
classification element 76, the binarization element 78 and the    the barcode overlapped the center of the captured image and
decoder element 80 may be embodied as software that is 25 then one proceeded to measure gradient values extending
capable of performing the functions associated with each          from the center in all directions, one would expect that a large
respective element as described below and which operate           change in values may be detected at the edge of each of the
under the control of the processing element 72, which may be,     alternating black lines. Thus, where a large number of edges
for example, the controller 20 of the mobile terminal 10 of       can be detected corresponding to an area near the center of the
FIG. 1. The processing element 72 may be embodied in many 30 captured image, it is likely that the barcode has been detected.
ways. For example, the processing element 72 may be               The quiet zone can similarly be detected using, for example,
embodied as a processor, a coprocessor, a controller or vari-     a gradient edge detector which defines a four sided polygon
ous other processing means or devices including integrated        that is likely to contain the barcode.
circuits such as, for example, an ASIC (application specific         An exemplary gradient edge detector could be imple-
integrated circuit).                                           35
                                                                  mented using a Prewitt operator. For example, a 3x3 Prewitt
   In general terms, the processing element 72 directs opera-     operator may be given by:
tion of other system elements in order to execute data pro-
cessing and ultimately barcode reading. The detection ele-
ment 74 detects a region of interest (ROI) within image data
corresponding to a captured image. The classification ele- 40
ment 76 classifies the ROI as being associated with either a
one dimensional (ID) barcode or a two dimensional (2D)
barcode. In an exemplary embodiment, the classification ele-
ment 76 may be further capable of determining a particular        while a 4x4 Prewitt operator is given by
type of 1D or 2D barcode based on geometric characteristics 45
of specific barcode types as compared to patterns recognized
within a particular image. The binarization element 78 is                           -3 -1     3         -3 -3 -3 -3
capable ofbinarizing an input image using one of two bina-                          -3 -1     3         -1 -1 -1 -1
rization methods described in greater detail below. The                       Vx =               , Vy=
                                                                                    -3 -1     3
decoder element 80 is capable of decoding a barcode. In an 50                       -3 -1     3          3 3 3       3
exemplary embodiment, the decoder element 80 is capable of
decoding several types of barcodes (e.g., different types of
both ID and 2D barcodes). It should be understood that the        According to an exemplary embodiment a modified 4x4 Pre-
ROI may define an area in which a barcode is expected. In         witt operator may be employed, for example, such as the
other words, the ROI may define a portion of an image that is 55 following operator:
closer to the center of the image with many image changes
and surrounded by a quiet zone.
   During an initialization stage, an input image from a par-                        -1 0 0            -1 -1 -1 -1
ticular source is received at the barcode reading element 70.                        -1 0 0             0   0   0   0
The input image could be, for example, Bayer matrix data, an 60                Vx =             , Vy=
                                                                                     -1 0 0             0   0   0   0
EXIF output, a color image from an imaging chain, a color                            -1 0 0
image directly from a sensor, a saved image such as, for
example, a JPEG image. For example, if Bayer matrix data is
received, four components (one Red, one Blue and two                 Notably, changing the standard operator according to the
Green) may be converted into a grey level image to provide a 65 modified Prewitt operator expressed above results in an
single value corresponding to each group of four input com-       increase in speed of edge detection and a reduction of noise.
ponents. As such, the grey level may be computed as (R+2G+        Such an operator may be useful in edge detection for ROI
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determination which is conducted over an entire image since        corresponding values which were determined to be below the
larger amounts of image data are analyzed to determine the         threshold may be defined as the border or edge of the ROI. For
ROI. If, however, a portion of the image can be selected either    example, if the selected number of consecutive values is
manually or automatically prior to ROI determination, the          three, the horizontal histogram may be examined by moving
standard Prewitt operator or some other more time consuming        in the left and right directions from the maximum histogram
operator may be employed. Although accuracy in edge detec-         value and comparing the histogram values to the left and right
tion may be reduced by edge detection using the modified           thresholds, respectively. The left border of the ROI may be
Prewitt operator above, corrections may be implemented to          defined as the first of three consecutive histogram values
improve accuracy while still enjoying the resultant speed          encountered while moving to the left of the maximum histo-
                                                                10 gram value which are each below the left threshold. Mean-
increase associated with utilizing the modified Prewitt opera-
tor.                                                               while, the right border of the ROI may be defined as the first
   In this regard, corrections may be iteratively performed        of   three   consecutive    histogram      values   encountered      while
when edge detection performed utilizing a high speed,              moving to the right of the maximum histogram value which
reduced accuracy operator such as the modified Prewitt             are each below the right threshold. When the process above
                                                                15 has been completed in both the horizontal and vertical direc-
operator is to be used to produce a decodable barcode. For
example, if the modified Prewitt operator is to be utilized and    tions, the ROI is defined. Essentially, the process above
the resultant edge detection produces an ROI, a correction         attempts to identify when the quiet zone is encountered while
may be performed to the ROI in order to modify the ROI prior       moving out from near the center of the ROI.
to the attempt to decode the barcode. The corrections will be          If the image data is binary data, ROI detection is performed
                                                                20 in a similar manner to that described above, except that an
described in greater detail below. However, since the correc-
tions are performed only on the previously detected ROI and        orientation of edges, which may be quantized, for example,
not on the entire captured image, time savings are typically       on   eleven    levels for each   direction,    may   be  computed.      The
noticeable during operation.                                       orientation is considered to be zero if no edge is detected in a
   Utilizing a gradient edge detector such as, for example, the    four pixel neighborhood. For example, a 4x4 processing win-
                                                                25 dow oroperator may be employed. Ifimage size is bigger than
modified Prewitt operator, the absolute value of the output of
the gradient edge detector may be used to fill two buffers         an arbitrarily selected value such as, for example, 300 pixels,
including a horizontal histogram buffer and a vertical histo-      then a downsampling may be performed. For example, if a
gram buffer. Buffer size may be determined by input image          downsampling by a factor of four is to be performed, every
size. Further processing is only performed on data stored in       fourth pixel may be processed in each of the directions while
                                                                30 moving from the maximum value in order to detect edges. In
the buffers and thus speed is further increased, while storage
requirements for temporary image data are minimized. The           each window, edge orientation, denoted by Ea may be com-
ROI, and corresponding barcode, is detected from the two           puted. An exemplary processing window may be defined as
buffers and thus, since only the barcode closest to the center     follows:
of the input image will be identified in association with the
                                                                35
ROI and be processed, an image containing multiple barcodes
will not slow down the barcode reading element 70.
   After completion of the steps above, the horizontal and
vertical histograms are processed as follows. First, a maxi-
mum histogram value hmax in the central area, and a corre-                                      B8 B9 B 10 Bu
                                                                40
sponding maximum index ihmax are detected. A minimum
histogram value is then computed in a specific direction (i.e.
left or right for horizontal histograms and up or down for         where     it should   be  noted    that   only  twelve   of  sixteen    bits
vertical histograms) from the detected maximum value. For          within   the   window   are used.    In other  words,   bits represented
example, for histogram indexes between 0 and ihmax, a mini-        by   "X"   values  are ignored,   while    binary  values  ofBa-B    11  are
                                                                45 of interest. Computation of Ea is performed by executing the
mum value of the horizontal histogram to the left of the
detected maximum could be expressed as hm,n 1 . Accordingly        following     operations.  Compute      L1  =(B  4 XNOR    B 6 ) XOR (B 5

a left threshold may be determined as                              XNOR       B 7), where  XNOR      and   XOR    are the negate    exclusive
                                                                   OR, and exclusive OR logical operations, respectively. Com-
                                                                   pute L2=(B 1 XNORB 2 )XOR(B 9 XNORB 10 ). IfLl is TRUE
                                                                50 and L2 is FALSE, then compute nl=Ba+B 1 +B2 +B3 and
                            hmax + 7 hminl
                      thr1        8        + 1.                    n2=B 8 +B9 +B 10 +B 11 . If both nl and n2 are equal to 0 or 4,
                                                                                                           4
                                                                   then Ea=0, otherwise Ea=(-lt (nl-n2)-5. IfLl is FALSE
                                                                   and L2 is TRUE, then compute nl=Ba+B 4 +8 6 +8 8 and
Meanwhile, a right threshold may be determined as                  n2=B 3 +B5 +B7 +B 11 . Ifbothnl andn2 are equal to 0 or 4, then
                                                                                                   4
                                                                55 Ea=0, otherwise Ea=(-1 t (nl-n2)+5. IfLl is TRUE and L2
                                                                   is TRUE, then Ea=(-1t 4 10, otherwise Ea=0.
                                                                       Histograms of edge orientation are then computed in ver-
                                                                   tical and horizontal dimensions of the image. The binary ROI
                                                                   is then selected as an area having a large number of edges near
Upper and lower thresholds could be calculated in similar 60 the center of the image using the steps described above with
fashion. After the thresholds have been determined for each of     respect to calculating thresholds corresponding to each
the specific directions, histogram values are compared to the      dimension and moving from the maximum value in each of
threshold on a value by value basis extending in each corre-       the dimensions until a selected number of pixel values are
sponding specific direction until a selected number of con-        below the corresponding threshold for the dimension.
secutive values below the threshold are encountered. When 65           Whetheror not the ROI is binary, the ROI will be defined as
the selected number of corresponding values below the              having a particular value or length in each dimension (i.e.,
threshold is encountered, any one of the selected number of        using the histograms of edge orientation in vertical and hori-
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zontal dimensions). The classification element 76 is config-         binarized. In any case, binarization may be accomplished
ured to compare the dimensions of the ROI to classify the            according to one of two different methods including global
barcode as being either 1D or 2D based on the comparison of          binarization and adaptive binarization. A method for provid-
the dimensions. In an exemplary embodiment, if the compari-          ing a camera barcode reader according to an exemplary
son of the maximum values of the horizontal and vertical             embodiment may provide for an initial use of the global
histograms reveals that each of the dimensions is substan-           binarization and, if the barcode reader element 70 is unable to
tially of different values, then the barcode may be classified as    decode the barcode, the adaptive binarization may be
being ID. For example, if one dimension of the ROI is sixteen        employed as described in greater detail below. In other words,
times smaller than the other dimension, the barcode may be           the barcode reader element 70 may switch between binariza-
classified as being ID, while if the ratio between dimensions lO tion methods on successive detection attempts in the event
is less than sixteen-to-one, the barcode may be classified as
                                                                     that successive attempts are necessary.
being 2D. In other words, the classification element 76 is
                                                                         The global binarization uses maximum and minimum val-
configured to classify a barcode as being ID or 2D based on
a relationship of relative sizes of the dimensions of the ROI as     ues  detected    from    either   the  input   image   (if binarization    is
compared to a particular threshold which is predictive of a       15
                                                                     done   before    ROI     detection)     or  from   the  ROI    in  order   to
statistical likelihood that the ROI is representative of either a    calculate an average value, which is used as a threshold for
ID or a 2D barcode. If the ROI is a binary ROI, then the             binarizing the input image or ROI. In other words, if a par-
orientation histogram of a detected object may be computed.          ticular  value  ( e.g.,  a grey   scale  value)  is above   the  threshold,
If the orientation histogram has an isolated peak (e.g.,just one     the particular value will be set to 1, while if the particular
peak for both the horizontal and vertical histograms), then the   20 value  is below    the  threshold,   the  particular  value   will  be set to
detected object is considered a ID barcode. In this regard, as       0. Global binarization is relatively fast as compared to adap-
stated above, if maximum values for the orientation histo-           tive binarization, and thus global binarization may be utilized
grams in each direction differ by an amount greater than a           initially in an attempt to minimize processing time. However,
particular threshold which is predictive of a statistical likeli-    if the detection and decoding attempt fails to produce a result,
hood that the ROI is representative of either a ID or a 2D        25 adaptive    binarization      may     be   employed     in  a   subsequent
barcode, then the binary ROI is considered to represent a ID         attempt. An example of a situation which may cause global
barcode. In other words, the classification element 76 may           binarization to fail could be the existence of a shadow across
differentiate between a ID barcode and a 2D barcode based            the barcode such as a shadow of the mobile terminal used to
on a relationship between a first length of an object oriented in    capture the input image.
a first direction and a second length of an object oriented in a 30      The adaptive binarization first divides the input image or
second direction that is substantially perpendicular to the first    ROI into multiple portions such as two equal halves and then
direction.                                                           completes the processing described below on each of the
    The classification element 76 may further include a capa-        halves or semi-images created by the division. A central
bility of determining 1D and 2D barcode types. In this regard,       recursive implementation of moving averages is utilized to
the classification element 76 may be configured to extract 35 provide the binarization. For example, if the division to create
geometric characteristics from an ROI and compare the                the semi-images is performed along a particular colunm, then
extracted characteristics to specifications of 2D barcodes           processing of each semi-image may be performed on lines
which the decoder element 80 is capable of decoding.                 independently,      starting   with   a  local  parameter    that  is previ-
Accordingly, the classification element 76 may examine spe-          ously initialized. The following equation describes an imple-
cific component patterns which may be indicative of the type 40 mentation of adaptive binarization according to an exemplary
ofbarcode disposed within the ROI. For example, an Aztec             embodiment: M,+1 =M,+P,+a-p 1 _ 6 , where M,+i represents a
barcode has two concentric rectangles near the center of the         moving sum from an initial local parameter M,, p represents
barcode, QRcode includes three corners having two concen-            a  pixel  value  ( e.g.  grey   scale  value)   and  a and   b  represent   a
tric rectangles with an interior rectangle being filled, a Data-     selected number of pixels. Local influence over a threshold
Matrix barcode may have an L shape, etc. With respect to ID 45 value may be increased by averaging a current value with a
barcodes, the classification element may examine the number          value   computed     at  a previous     step. For  example,    if the  value
of edges of the barcode in order to determine the type of ID         computed is H, a line above the current line may be used to
barcode. In an exemplary embodiment, the classification ele-         update    H. An    exemplary       adaptive   binarization   method     may
ment 76 may communicate the type of ID or 2D barcode to a            have an adaptive threshold Ti give by
user via an interface 84, which could be, for example, a 50
display.
                                                                                                      1
    The classification element 76 is capable of determining ID                                  T; = -(H • AP(H) + GP),
                                                                                                     n
and 2D processing types even when scamiing lines or objects
within the barcode are at an angle of inclination. In this
regard, the larger dimension of the ROI or the isolated orien- 55 wherenis window size used, GP=0.1 *(Max+Min) is a global
tation peak of binarized data will be indicative of scanning         parameter factor which depends upon maximum and mini-
line positions. For example, if the larger dimension of the ROI      mum values within the ROI or input image, and AP is an
is horizontal, then the scanning lines are horizontal. The           adaptive parameter function that is a window function defined
scanning lines may then be examined and the number and               by global parameters Min+GP and Max+GP. The adaptive
thicknesses of bars will indicate the type of ID barcode. The 60 binarization is described in greater detail in U.S. patent appli-
decoder element 80 may also use the information regarding            cation Ser. No. 11/194, 124, to A. Burian and M. Vehvilainen
the number and thicknesses of bars to decode the barcode.            entitled "Binarization of an Image", which was filed on Jul.
    The binarization element 78 may be operated at any of            29, 2005 and is incorporated herein by reference in its
various times within the processing of a barcode. For                entirety.
example, input image data could be binarized after acquisi- 65           The decoder element 80 performs additional processing
tion of the input image, or an ROI could be calculated from the      and decoding operations upon the barcode in an effort to
input image as described above and then the ROI could be             ultimately decode the barcode. As stated above, the decoder
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element 80 utilizes information regarding the number and             determining a degree of overlap between the barcode 85 and
thicknesses of bars to decode a ID barcode, and special              both the first and fifth sub-segments 88 and 98. For example,
shapes or structures for decoding 2D barcodes. The decoder           a number of black pixels which overlap each of the sub-
element 80 includes correction mechanisms which will be              segments may be determined in order to make a determina-
described in greater detail below. The decoder element 80 is         tion as to whether and in which direction each of the sub-
also configured to determine an encoded message associated           segments must be moved.
with the barcode by examining bit patterns associated with              Accordingly, in an exemplary embodiment as shown in
2D barcodes. The bit patterns result from computation of a           FIG. 4, if the number of black pixels intersecting the first
scanning mesh which is performed as follows. Based on the            sub-segment 88 is zero, then the first sub-segment 88 is likely
specification of the detected 2D barcode type, a true size of 10 too far from the bar code and should be moved in a direction
the scarmed barcode is determined by computing sizes of              toward the barcode or toward the center (down in this
objects within the ROI (which is typically a rectangular ROI),       instance). The number of black pixels intersecting the first
and knowing possible sizes of objects for the corresponding          sub-segment 88 is then recalculated and the first sub-segment
specification. A size from the specification which is relatively     is moved accordingly until the number of black pixels inter-
close to the computed size is chosen. For example, the com- 15 secting the first sub-segment 88 is 1 or 2. If the number of
puted size may be determined by computing minimum dis-               black pixels intersecting the first sub-segment 88 is greater
tances between opposite segments of the rectangular ROI              than 3, then the first sub-segment 88 is moved away from the
containing the barcode. Since possible sizes of the barcode          barcode 85 (up in this instance). The process above may be
are known from the specification, maximum and minimum                iteratively performed until the corresponding sub-segments
cell sizes may be computed in horizontal and vertical direc- 20 has the desired overlap with the barcode 85, which is stated as
tions (or in directions other than horizontal and vertical).         1 or 2 pixels in this example, but should be understood to be
Actual sizes of within the scarmed barcode are then computed         any desired value. Alternatively, the process above may be
and the minimum obtained size is selected from the possible          iteratively performed until a selected number of iterations is
sizes using the detected barcode type specifications.                reached such as, for example, two or three. The fifth sub-
   As stated above, the decoder element 80 may also be 25 segment 98 undergoes the same process described above
capable of performing correction mechanisms. In this regard,         while maintaining the intersection between the first and fifth
the decoder element 80 may be capable of correcting the ROI.         sub-segments 88 and 98. In this regard, the movement of the
In an exemplary embodiment, a binary recursive median filter         sub-segments may be performed simultaneously or in series,
may be employed to remove noise impulses from the ROI.               however, in either case, the intersection between the first and
The ROI may then be corrected by adjusting corner positions 30 fifth sub-segments 88 and 98 is maintained throughout the
of the ROI. In this regard, the corrections of the corner posi-      process. Thus, according to the example of FIG. 4, the first
tions are accomplished by moving the comer positions within          sub-segment 88 is iteratively moved down (i.e., toward the
their corresponding local neighborhoods such that a new ROI          barcode 85) until 1 or 2 black pixels overlap the first sub-
containing the whole barcode (including any optically                segment 88 and the fifth sub-segment 98 is moved left (i.e.,
deformed areas) is formed. An image warping processing 35 away from the barcode 85) until 1 or 2 black pixels overlap the
may also be performed. Correction of the ROI may be useful           fifth sub-segment 98. Accordingly the corner COis corrected.
if corner positions of the current ROI are not the actual cor-          After correction of each of the corners, geometrical cor-
ners of the barcode. For example, the comer positions of the         rections may also be performed for new borders of the newly
current ROI could be within a text region that is adjacent to the    defined ROI based on the corrected corners. In this regard,
barcode or within the barcode itself.                             40 according to an exemplary embodiment, each border may be
   In an exemplary embodiment, corner position correction            divided into eight sub-segments (or any other desired num-
may be accomplished by dividing each border of the ROI into          ber) and distances from the sub-segments to the barcode 85
four sub-segments. For example, if it is assumed that a par-         may be calculated. For example, the degree of overlap calcu-
ticular ROI has four borders and includes a barcode 85, as           lations described above may be employed. Accordingly, the
shown in FIG. 4, then each of the borders is defined as a 45 sub-segments may be utilized to further correct the ROI. FIG.
segment connecting adjacent corners. Each of the four bor-           5 illustrates a new ROI defined by borders formed by line
ders may then be divided into four sub-segments. Sub-seg-            segments connecting each of the comers CO,Cl, C2 and C3
ments which intersect at the corners may then be shifted based       after the correction process described above is completed for
upon a degree of overlap with the barcode 85. Thus, for              each of the comers and corresponding borders. A morpho-
example, a first border connecting corner CO to corner Cl 50 logical filter may then be applied to perform dilation and
may be divided into a first sub-segment 88 which originates at       erosion in order to correct shapes of objects inside the barcode
corner CO, a second sub-segment 90 which extends from an             85.
end of the first sub-segment 88 toward corner Cl, a third               As stated above, embodiments of the present invention
sub-segment 92 which extends from an end of the third sub-           may be employed in numerous fixed and mobile devices. In
segment 92 toward corner Cl and a fourth sub-segment 94 55 this regard, embodiments of the present invention may be
which extends from an end of the third sub-segment 92 to the         useful in enabling mobile terminals in performing barcode
corner Cl. A second border may also include four segments            reading in relatively harsh environments. The dynamic nature
and extend from corner COto corner C2. The second border             of the processing capabilities of the barcode reading element
may include a fifth sub-segment 98 which may originate at            70 enable users of mobile terminals to quickly and accurately
corner COand extends toward comer Cl. Distances between 60 determine a type ofbarcode and the corresponding informa-
the sub-segments and the barcode 85 in each direction (i.e.,         tion encoded by the barcode. In this regard, the capabilities of
horizontal (e.g., left and right) and vertical (e.g., up and         the barcode reading element 70 enable dynamic switching
down)) may then be used to define four points at the intersec-       between multiple detection and decoding methods which
tion of corresponding minimum distances with the respective          may each selectively employ aspects of the barcode reading
sub-segments. Distance from the barcode 85 to the sub-seg- 65 element 70 which have been described above. Additionally,
ments may be determined based on a degree of overlap. In this        embodiments of the present invention provide a mechanism
regard, correction of comer CO may then be performed by              by which a relatively quick method may be employed to
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attempt to decode a barcode and, if the decode attempt is         a reattempt at decoding may be performed at operation 270. If
unsuccessful, embodiments of the present invention provide        the switch has been made to the second barcode reading
for automatic modification of the method, or dynamic switch-      method, then the method described above is performed
ing between methods having different characteristics in order     except that the terms first and second barcode reading method
to provide robust decode capabilities in a time period that is    are swapped in operations 200 to 270. In other words, the first
variable based on the difficulty encountered in conducting        barcode reading method could simply be referred to as a
decode operations.                                                current barcode reading method and either the modified first
   FIGS. 6-8 are flowcharts of a system, methods and program      barcode reading method or the second barcode reading
products according to exemplary embodiments of the inven-         method could be referred to as a new or different barcode
tion. It will be understood that each block or step of the 10 reading method.
flowcharts, and combinations of blocks in the flowcharts, can         FIG. 7 illustrates the first barcode reading method accord-
be implemented by various means, such as hardware, firm-          ing to an exemplary embodiment. In this regard, the first
ware, and/or software including one or more computer pro-         barcode reading method includes an initialization at opera-
gram instructions. For example, one or more of the proce-         tion 300. During initialization, an input image is obtained.
dures described above may be embodied by computer 15 The input image may have been obtained by capture at an
program instructions. In this regard, the computer program        image sensor or camera, by receipt from a device in commu-
instructions which embody the procedures described above          nication with a device employing the first barcode reading
may be stored by a memory device of the mobile terminal and       method, or by retrieval of a stored image. If the input image is
executed by a built-in processor in the mobile terminal. As       a color image, a grey level image may be created. Meanwhile,
will be appreciated, any such computer program instructions 20 if the input image is a grey level image or a binary input
may be loaded onto a computer or other programmable appa-         image, the input image may be directly communicated to the
ratus (i.e., hardware) to produce a machine, such that the        detection element for ROI detection. At operation 302, an
instructions which execute on the computer or other program-      ROI may be detected. Based on the characteristics of the ROI,
mable apparatus create means for implementing the functions       a determination may be made at operation 304 as to whether
specified in the flowcharts block(s) or step(s). These com- 25 a barcode in the ROI corresponds to a ID barcode or a 2D
puter program instructions may also be stored in a computer-      barcode. At operation 306, if the barcode is a ID barcode, the
readable memory that can direct a computer or other pro-          ID barcode type is determined and the barcode is decoded.
grammable apparatus to function in a particular manner, such      Operation 304 may determine a ID barcode according to the
that the instructions stored in the computer-readable memory      processes described above with respect to the classification
produce an article of manufacture including instruction 30 element 76. Alternatively, points of interest or objects within
means which implement the function specified in the flow-         the ROI may be detected and, if all of the points of interest
charts block(s) or step(s). The computer program instructions     have substantially the same orientation, the barcode may be
may also be loaded onto a computer or other programmable          classified as a ID barcode. Accordingly, at operation 306, line
apparatus to cause a series of operational steps to be per-       widths may be determined in order to decode the barcode. The
formed on the computer or other programmable apparatus to 35 user may be notified of the result of the attempt to decode at
produce a computer-implemented process such that the              operation 308.
instructions which execute on the computer or other program-          If at operation 304, the barcode is determined to be a 2D
mable apparatus provide steps for implementing the func-          barcode, binarization may be performed at operation 310. In
tions specified in the flowcharts block(s) or step(s).            this regard, the binarization may be performed via either the
   Accordingly, blocks or steps of the flowcharts support 40 global binarization or the adaptive binarization described
combinations of means for performing the specified func-          above. It should be noted that the global binarization is the
tions, combinations of steps for performing the specified         default binarization method and the adaptive binarization
functions and program instruction means for performing the        may be substituted in the event that the first barcode reading
specified functions. It will also be understood that one or       method is modified at operation 270. It should also be noted
more blocks or steps of the flowcharts, and combinations of 45 that, if the input image is binary, operation 310 may be
blocks or steps in the flowcharts, can be implemented by          skipped. At operation 312, ROI correction is performed. In
special purpose hardware-based computer systems which             other words, corner correction is performed. Re-sampling
perform the specified functions or steps, or combinations of      and geometrical correction is performed at operation 314. If
special purpose hardware and computer instructions.               either ROI correction or geometrical correction are not able to
   In this regard, one embodiment of a method of providing a 50 be completed, a switch may be made to the second method or,
camera barcode reader, as shown in FIG. 6, may include            if available, a new frame may be utilized in order to restart the
processing an input image for an attempt to decode the image      ROI correction at operation 310 using the same ROI. If opera-
using a first barcode reading method at operation 200. At         tions 312 and 314 are successfully completed, then barcode
operation 210, a determination is made as to whether the          type may be determined at operation 316. Based on the bar-
processing of the input image is successful. If the processing 55 code type, a scarming mesh may be computed at operation
is unsuccessful, a switch is made to a second barcode reading     318. In this regard, mesh and resample operations may pro-
method or a new frame of the input image is processed at          duce a bit pattern for the barcode which can be decoded. As
operation 260. If the processing of operation 200 is success-     stated above, mesh computation may begin by estimating
ful, the first barcode reading method is utilized for attempting  barcode size based on known barcode characteristics for the
to decode the input image at operation 220. A determination 60 identified barcode type. A decode attempt may be performed
is made at operation 230 as to whether the decode attempt of      at operation 320 and the user may be notified of the result at
operation 220 is successful. If the decode attempt ofoperation    operation 308.
220 is successful, then the user is notified at operation 240. If     FIG. 8 illustrates the second barcode reading method
the decode attempt is unsuccessful, then either the user may      according to an exemplary embodiment. In this regard, the
be notified of the failure at operation 250, the switch to the 65 second barcode reading method includes an initialization of
second barcode reading method may be performed, or param-         an input image at operation 400. The initialization may be
eters of the first barcode reading method may be modified and     similar to that described above for operation 300. At opera-
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tion 402, the input image may be binarized as described             of the invention includes a computer-readable storage
above. It should be noted that the global binarization is the       medium, such as the non-volatile storage medium, and com-
default binarization method and the adaptive binarization           puter-readable program code portions, such as a series of
may be substituted in the event that the first barcode reading      computer instructions, embodied in the computer-readable
method is modified at operation 270. It should also be noted        storage medium.
that, if the input image is already binarized, then operation          Many modifications and other embodiments of the inven-
402 may be skipped. At operation 404, a binary ROI is               tions set forth herein will come to mind to one skilled in the art
detected as described above. A determination may be made at         to which these embodiments pertain having the benefit of the
operation 406 as to whether a barcode in the binary ROI             teachings presented in the foregoing descriptions and the
corresponds to a ID barcode or a 2D barcode. At operation 10 associated drawings. Therefore, it is to be understood that the
408, if the barcode is a ID barcode, the ID barcode type is         inventions are not to be limited to the specific embodiments
determined and the barcode is decoded. Operation 406 may            disclosed and that modifications and other embodiments are
determine a 1D barcode according to the processes described         intended to be included within the scope of the appended
above with respect to the classification element 76. Accord-        claims.Although specific terms are employed herein, they are
ingly, at operation 408, a decode attempt may be made for the 15 used in a generic and descriptive sense only and not for
ID barcode. The user may be notified of the result of the           purposes of limitation.
attempt to decode at operation 410.                                    What is claimed is:
   If at operation 406, the barcode is determined to be a 2D           1. A method comprising:
barcode, ROI correction may be performed at operation 412.             processing an input image for an attempt to decode the
Re-sampling and geometrical correction may be performed at 20             input image using a current barcode reading method, the
operation 414. If either ROI correction or geometrical correc-            processing including performing a correction on the
tion are not able to be completed, a switch may be made to the            input image;
first method or, if available, a new frame may be utilized in          determining whether the processing of the input image is
order to restart the ROI correction at operation 412 using the            successful based on a determination as to whether the
same ROI. If operations 412 and 414 are successfully com- 25              correction is completed;
pleted, then barcode type may be determined at operation               switching to one of a different barcode reading method or
416. Based on the barcode type, a scanning mesh may be                    processing a new frame of the input image using the
computed at operation 418. A decode attempt may be per-                   current barcode reading method in response to the pro-
formed at operation 420 and the user may be notified of the               cessing of the input image being unsuccessful;
result at operation 410.                                         30    attempting a decode of the input image using the current
   It should be noted that with respect to the method for                 barcode reading method in response to the processing of
providing a camera barcode reader described above in FIG. 6,              the input image being successful; and
the first barcode reading method and the second barcode                performing a switch to the different barcode reading
reading method are interchangeable. In other words, the term              method in response to a failure of the attempt to decode
first barcode reading method could be utilized to refer to 35             the input image using the current barcode reading
operations 400-420 of FIG. 8, while the term second barcode               method.
reading method could be utilized to refer to operations 300-           2. A method according to claim 1, wherein processing the
320 of FIG. 7. Additionally, methods other than those exem-         input image comprises determining a region ofinterest (ROI)
plary methods disclosed in FIGS. 7 and 8 could be utilized as       defining an area in which a barcode is expected.
the first and second barcode reading methods of FIG. 6. 40             3. A method according to claim 2, wherein processing the
However, regardless of which specific methods are utilized as       input image further comprises performing the correction by
the first and second barcode reading methods of FIG. 6, it          correcting the ROI.
should be understood that parameters calculated or utilized in         4. A method according to claim 3, wherein correcting the
connection with the performance of the first method may be          ROI comprises correcting corner positions of the ROI based
transferred to the second method in the event that a switch 45 on a degree of overlap between the barcode and segments of
between methods is performed. Additionally, each method             a border of the ROI which are adjacent to each respective
provides a capability for sequential frame processing in            corner.
which, as described above, a next sequential frame may be              5. A method according to claim 2, wherein processing the
utilized in connection with the performance of a method if the      input image further comprises performing the correction by
current frame is not successful in providing a decode of the 50 performing re-sampling and geometric image correction.
barcode. However, with regard to method switching, method              6. A method according to claim 2, wherein processing the
modification, sequential frame processing, and ROI correc-          input image comprises binarizing the ROI.
tion, each operation may have a corresponding time limit               7. A method according to claim 6, wherein performing a
before the operation times out and fails. Alternatively, an         switch to the different barcode reading method comprises
entire decode attempt in accordance with the method of FIG. 55 modifying the current barcode reading method by switching
6 may be performed subject to a time limit. As such, if the time    from a global binarization to an adaptive binarization.
limit expires, the decode attempt may immediately fail and             8. A method according to claim 1, further comprising per-
the user may receive an indication that the decode attempt has      forming a determination as to whether the input image
failed due to elapsed time, or simply that the barcode reading      includes one of a one dimensional (ID) barcode or a two
element 70 is unable to decode the barcode.                      60 dimensional (2D) barcode.
   The above described functions may be carried out in many            9. A method according to claim 8, further comprising deter-
ways. For example, any suitable means for carrying out each         mining a type ofbarcode.
of the functions described above may be employed to carry              10. A method according to claim 8, wherein the determi-
out embodiments of the invention. In one embodiment, all or         nation is performed based on a relationship between a first
a portion of the elements of the invention generally operate 65 length of an object oriented in a first direction and a second
under control of a computer program product. The computer           length of the object oriented in a second direction that is
program product for performing the methods of embodiments           substantially perpendicular to the first direction.
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   11. A method according to claim 1, wherein processing the            23. A computer program product according to claim 13,
input image comprises binarizing the input image.                    wherein the first executable portion includes instructions for
   12. A method according to claim 11, wherein performing a          binarizing the input image.
switch to the different barcode reading method comprises                24. A computer program product according to claim 23,
modifying the current barcode reading method by switching            wherein the fifth executable portion includes instructions for
from a global binarization to an adaptive binarization.              modifying the current barcode reading method by switching
   13. A computer program product comprising at least one            from a global binarization to an adaptive binarization.
computer-readable storage medium having computer-read-                  25. An apparatus comprising a processor and memory
able program code portions stored therein, the computer-             including computer program code, the memory and the com-
readable program code portions comprising:                        10 puter program code configured to, with the processor, cause
   a first executable portion for processing an input image for      the apparatus at least to:
      an attempt to decode the input image using a current              process an input image for an attempt to decode the input
      barcode reading method, the processing including per-                image using a current barcode reading method, the pro-
      forming a correction on the input image;                             cessing including performing a correction on the input
   a second executable portion for determining whether the 15              image;
      processing of the input image is successful based on a            determine whether the processing of the input image is
      determination as to whether the correction is completed;             successful based on a determination as to whether the
   a third executable portion for switching to one of a different          correction is completed;
      barcode reading method or processing a new frame of               switch to one of a different barcode reading method or
      the input image using the current barcode reading 20                 processing a new frame of the input image using the
      method in response to the processing of the input image              current barcode reading method in response to the pro-
      being unsuccessful;                                                  cessing of the input image being unsuccessful;
   a fourth executable portion for attempting a decode of the           attempt a decode of the input image using the current
      input image using the current barcode reading method in              barcode reading method in response to the processing of
      response to the processing of the input image being 25               the input image being successful; and
      successful; and                                                   perform a switch to the different barcode reading method in
   a fifth executable portion for performing a switch to the               response to a failure of the attempt to decode the input
      different barcode reading method in response to a failure            image using the current barcode reading method.
      of the attempt to decode the input image using the cur-           26. An apparatus according to claim 25, wherein the
      rent barcode reading method.                                30 memory and computer program code are further configured
   14. A computer program product according to claim 13,             to, with the processor, cause the apparatus to process the input
wherein the first executable portion includes instructions for       image by determining a region of interest (ROI) defining an
determining a region of interest (ROI) defining an area in           area in which a barcode is expected.
which a barcode is expected.                                            27. An apparatus according to claim 26, wherein the
   15. A computer program product according to claim 14, 35 memory and computer program code are further configured
wherein the first executable portion includes instructions for       to, with the processor, cause the apparatus to perform the
performing the correction by correcting the ROI.                     correction by correcting the ROI.
   16. A computer program product according to claim 15,                28. An apparatus according to claim 27, wherein the
wherein the first executable portion includes instructions for       memory and computer program code are further configured
correcting comer positions of the ROI based on a degree of 40 to, with the processor, cause the apparatus to correct comer
overlap between the barcode and segments of a border of the          positions of the ROI based on a degree of overlap between the
ROI which are adjacent to each respective comer.                     barcode and segments of a border of the ROI which are
   17. A computer program product according to claim 14,             adjacent to each respective corner.
wherein the first executable portion includes instructions for          29. An apparatus according to claim 26, wherein the
performing the correction by performing re-sampling and 45 memory and computer program code are further configured
geometric image correction.                                          to, with the processor, cause the apparatus to process the input
   18. A computer program product according to claim 14,             image via performing the correction by performing re-sam-
wherein the first executable portion includes instructions for       pling and geometric image correction.
binarizing the ROI.                                                     30. An apparatus according to claim 26, wherein the
   19. A computer program product according to claim 18, 50 memory and computer program code are further configured
wherein the fifth executable portion includes instructions for       to, with the processor, cause the apparatus to binarize the ROI.
modifying the current barcode reading method by switching               31. An apparatus according to claim 30, wherein the
from a global binarization to an adaptive binarization.              memory and computer program code are further configured
   20. A computer program product according to claim 13,             to, with the processor, cause the apparatus to perform the
further comprising a sixth executable portion for performing 55 switch to the different barcode reading method by modifying
a determination as to whether the input image includes one of        the current barcode reading method by switching from a
a one dimensional (ID) barcode or a two dimensional (2D)             global binarization to an adaptive binarization.
barcode.                                                                32. An apparatus according to claim 31, wherein global
   21. A computer program product according to claim 20,             binarization comprises binarizing an entirety of the input
further comprising a seventh executable portion for determin- 60 image based on a relationship between input image values
ing a type ofbarcode.                                                and a threshold and wherein adaptive binarization comprises
   22. A computer program product according to claim 20,             dividing the input image into regions and separately binariz-
wherein the sixth executable portion includes instructions for       ing the regions of the input image based on a relationship
performing the determination based on a relationship                 between a moving sum of region values compared to an
between a first length of an object oriented in a first direction 65 adaptive threshold.
and a second length of the object oriented in a second direc-           33. An apparatus according to claim 25, wherein the
tion that is substantially perpendicular to the first direction.     memory and computer program code are further configured
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to, with the processor, cause the apparatus to perform a deter-         39. An apparatus according to claim 37, wherein global
mination as to whether the input image includes one of a one         binarization comprises binarizing an entirety of the input
dimensional (ID) barcode or a two dimensional (2D) bar-              image based on a relationship between input image values
code.                                                                and a threshold and wherein adaptive binarization comprises
   34. An apparatus according to claim 33, wherein the               separately binarizing two halves of the input image based on
memory and computer program code are further configured              a relationship between a moving sum of input image values
to, with the processor, cause the apparatus to determine a type      compared to an adaptive threshold.
ofbarcode.                                                              40. An apparatus according to claim 25, wherein the appa-
   35. An apparatus according to claim 34, wherein the               ratus is embodied as a mobile terminal.
memory and computer program code are further configured 10              41. An apparatus comprising:
to, with the processor, cause the apparatus to determine the            means for processing an input image for an attempt to
type ofbarcode based on a comparison of geometric patterns                 decode the input image using a current barcode reading
within the barcode to a known specification.                               method, the processing including performing a correc-
   36. An apparatus according to claim 33, wherein the                     tion on the input image;
memory and computer program code are further configured 15              means for determining whether the processing of the input
to, with the processor, cause the apparatus to perform the                 image is successful based on a determination as to
determination based on a relationship between a first length               whether the correction is completed;
of an object oriented in a first direction and a second length of       means for switching to one of a different barcode reading
the object oriented in a second direction that is substantially            method or processing a new frame of the input image
perpendicular to the first direction.                             20       using the current barcode reading method in response to
   37. An apparatus according to claim 25, wherein the                     the processing of the input image being unsuccessful;
memory and computer program code are further configured                 means for attempting a decode of the input image using the
to, with the processor, cause the apparatus to binarize the                current barcode reading method in response to the pro-
input image.                                                               cessing of the input image being successful; and
   38. An apparatus according to claim 37, wherein the 25               means for performing a switch to the different barcode
memory and computer program code are further configured                    reading method in response to a failure of the attempt to
to, with the processor, cause the apparatus to perform the                 decode the input image using the current barcode read-
switch to the different barcode reading method by modifying                ing method.
the current barcode reading method by switching from a
global binarization to an adaptive binarization.                                             * * * * *
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                             UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
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APPLICATION NO.             : 11/462152
DATED                       : May 24, 2011
INVENTOR(S)                 : Burian et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Column 14
         Line 49, "give" should read --given--.




                                                                                                                              Signed and Sealed this
                                                                                                                           Second Day of October, 2012




                                                                                                                                        David J. Kappos
                                                                                                                   Director of the United States Patent and Trademark Office
